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Attorney for Defendant

                    IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF ALASKA

GARY EDDY,                                 ) Case No. 3:10-cv-00167-SLG
                                           )
                     Plaintiff,            )
                                           ) NOTICE OF SETTLEMENT
       vs.                                 )
                                           )
UNITED STATES OF AMERICA                   )
                                           )
                     Defendant.            )
                                           )

      The parties have settled this case and will file a notice of dismissal or a status

report on or before November 30, 2012.

      RESPECTFULLY SUBMITTED, on October 9, 2012, at Anchorage, Alaska.

                                                  KAREN L. LOEFFLER
                                                  United States Attorney

                                                  Susan J. Lindquist
                                                  Assistant U. S. Attorney
                                                  Attorney for the United States

Eddy v. USA
Case No. 3:10-CV-00167-SLG                        1


        Case 3:10-cv-00167-SLG Document 30 Filed 10/09/12 Page 1 of 2
CERTIFICATE OF SERVICE

I hereby certify that on October 9, 2012,
a copy of the foregoing Notice of Settlement
was served electronically on

Michael W. Flanigan

s/ Susan J. Lindquist




Eddy v. USA
Case No. 3:10-CV-00167-SLG



           Case 3:10-cv-00167-SLG Document 30 Filed 10/09/12 Page 2 of 2
